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                           absolutely no
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       I was deeply surprised and distraught with the professionalism committees
recommendation, and I do not understand it on my levels. I am confused as to which specific
code of conduct or school of medicine policies that I have broken. I think it is also important to
note that the actions in themselves are not a medical school issue, but rather a civil one in my
eyes. My accuser was not a student at the time the alleged incident took place and was only a
student at this university for one semester (to the best of my knowledge), so I do not
understand how this could fall under student mistreatment. While the professionalism
committees letter seemed to focus on harassment and misrepresentation, I have not been
charged with any crime alleging harassment, or any other chargers related to this incident, even
though the police were made aware of this situation in October. I am confused as to how the
professionalism committees decision can accuse me of these crimes even though I have not
been by the proper authorities. I would like to reiterate that this whole situation has no bearing,
in any way on my studies, my future patients, or any other members of the SOM community.




first time
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                                                            way forward
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 Sincerely,
